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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------X
 ROSE ANN PAGUIRIGAN, individually and
 on behalf of all others similarly situated,                     :

                                    Plaintiff,                  :    1:17 Civ. 1302 (NG) (JO)

                           -vs-                                 :

 PROMPT NURSING EMPLOYMENT AGENCY                               :
 LLC d/b/a SENTOSA SERVICES,
 SENTOSACARE LLC, SENTOSA NURSING                               :
 RECRUITMENT AGENCY, BENJAMIN LANDA,
 BENT PHILIPSON, BERISH RUBENSTEIN a/k/a                        :
 BARRY RUBENSTEIN, FRANCIS LUYUN,
 GOLDEN GATE REHABILITATION & HEALTH                            :
 CARE CENTER LLC, and SPRING CREEK
 REHABILITATION AND NURSING CENTER,                             :

                                     Defendants.                 :
 ----------------------------------------------------------------X



                     PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT
                       OF HER MOTION FOR CLASS CERTIFICATION




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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 ROSE ANN PAGUIRIGAN, individually and
 on behalf of all others similarly situated,                      :

                                    Plaintiff,                   :    1:17 Civ. 1302 (NG) (JO)

                           -vs-                                  :

 PROMPT NURSING EMPLOYMENT AGENCY                                :
 LLC d/b/a SENTOSA SERVICES,
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 RECRUITMENT AGENCY, BENJAMIN LANDA,
 BENT PHILIPSON, BERISH RUBENSTEIN a/k/a                         :
 BARRY RUBENSTEIN, FRANCIS LUYUN,
 GOLDEN GATE REHABILITATION & HEALTH                             :
 CARE CENTER LLC, and SPRING CREEK
 REHABILITATION AND NURSING CENTER,                              :

                                     Defendants.                  :
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                      PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT
                        OF HER MOTION FOR CLASS CERTIFICATION

          Plaintiff Rose Ann Paguirigan submits this memorandum of law in support of her motion

 for an Order: (a) certifying this action as a class action pursuant to Rule 23(b)(3) or, in the

 alternative, Rule 23(b)(2) of the Federal Rules of Civil Procedure; (b) appointing plaintiff’s

 attorneys to represent the class; and (c) granting such other relief as this Court deems just.

                                            Preliminary Statement

         This is an action for damages and injunctive relief for violations of the Trafficking

 Victims Protection Act (TVPA), 18 U.S.C. § 1589 et seq., for a declaratory judgment, and for

 breach of contract under New York law. Defendants are foreign labor recruiters and nursing

 home owners who have recruited more than 200 nurses in the Philippines to work for the

 defendants in this District under contracts of indentured servitude. The contracts require that the
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 nurses continue working for the defendants until they pay off a $25,000 indenture that is

 disproportionate to the defendants’ actual costs and the nurse’s annual compensation. Indeed,

 most of the defendants’ costs were to obtain visas for the nurses, which federal law prohibits the

 defendants from passing on to the nurses.

        Once the Filipino nurses arrive in the United States, the defendants refuse to pay the

 prevailing wages required by their employment contracts and use the $25,000 indentures to keep

 the Filipino nurses from leaving. The defendants have also commenced and threatened to

 commence baseless civil litigation, professional disciplinary proceedings, and criminal charges

 against some Filipino nurses as part of a plan and scheme to cause all the Filipino nurses

 working in their nursing homes to believe that they will suffer serious harm if they stop working

 for the defendants.

        On behalf of herself and all other Filipino nurses employed by the defendants since

 December 23, 2008, plaintiff seeks compensatory and punitive damages for violations of the

 TVPA; compensatory damages for breach of contract; an injunction prohibiting the defendants

 from threatening or attempting to enforce the indenture; a declaration that the indenture is

 unenforceable under the 13th Amendment to the U.S. Constitution, 42 U.S.C. § 1994, and New

 York common law; an award of reasonable attorneys’ fees and costs; and such other relief as the

 Court deems just and proper.

        The dispositive issues raised by plaintiff’s claims are susceptible of class-wide proof.

 The common issues of law and fact include: (a) whether the defendants’ standard employment

 contract requires them to pay Filipino nurses the prevailing wage “[a]s of the commencement

 date” or as of the date the contract was signed; (b) whether a New York State Supreme Court

 decision holding the indenture unenforceable collaterally estops the defendants from arguing that



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 the indenture is enforceable as liquidated damages; (c) whether the indenture is otherwise

 unenforceable as a matter of law; (d) whether the defendants have used the indenture and abusive

 legal proceedings against some Filipino nurses in order to coerce all Filipino nurses to continue

 working in their nursing homes; (e) whether each of the defendants joined and/or benefitted from

 a venture that violated the TVPA; and (f) whether the corporate veil should be pierced to impose

 liability for breach of contract on the individual defendants. See, e.g., Nunag-Tanedo v. East

 Baton Rouge Parish School Board, No. LA CV 10-01172, 2011 WL 7095434, at *6 (C.D. Cal.

 Dec. 12. 2011) (certifying a class of Filipino teachers to pursue TVPA and employment contract

 claims).

         Once liability is determined, the compensatory damages of individual class members will

 be determined by a formula based on a comparison of the appropriate prevailing wage (which

 can be ascertained from publicly-available government records) with the wages each nurse was

 actually paid (which can be determined from defendants’ payroll records). Accordingly, issues

 common to the class predominate over any individual issues. See, e.g., Nunag-Tanedo, 2011 WL

 7095434, at *8-10; accord Shady Grove Orthopedic Associates, P.A. v. Allstate Ins. Co., 293

 F.R.D. 287, 304 (E.D.N.Y. 2013).

         As demonstrated below, these factors and all of the remaining factors under Rule 23

 warrant certification of the proposed class.

                                             Statement of Facts

         Beginning in 2006, defendants Francis Luyun, Bent Philipson, and Sentosa Agency

 recruited plaintiff in the Philippines to work for a nursing home owned and operated by the

 defendants in New York. Paguirigan Dep. at 100-105 (Howley Declr., Exh. A). 1 Although the


 1
  The deposition transcripts and exhibits cited in this memorandum of law are annexed to the accompanying
 Declaration of John Howley.

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 defendants now purport to be separate entities, Luyun and Philipson identified themselves to

 plaintiff and other Filipino nurses as representing “Sentosa.” Id. They emphasized that

 “Sentosa” was not merely an employment agency, but that it actually owned the nursing homes

 where the nurses would work. Id. at 101. This intentional representation of a single, integrated

 entity continued after the nurses arrived in the United States. While defendants claim that the

 nursing homes entered into “verbal agreements” assigning the Filipino nurses’ employment

 contracts to defendant Prompt Nursing Employment Agency LLC – a company owned by

 defendant Berish Rubinstein – plaintiff and the other Filipino nurses received paychecks listing

 “Sentosa Services” as their employer. Id. at 104.

    A. Defendants’ Standard Employment Contracts and Verbal Assignments

        On April 22, 2015, plaintiff signed an employment contract to work for defendant Golden

 Gate Rehabilitation & Health Care Center, a nursing home owned and operated by the

 defendants in Staten Island. Paguirigan Dep. 432-38 & Exhibit 3. The contract was signed by

 defendant Benjamin Landa, the owner of the nursing home. Id.

        The contract provides for a base salary in accordance with the prevailing wage

 determined by the U.S. Department of Labor as of the date plaintiff commenced working at the

 nursing home. Thus, Section IV(1) of the contract provides:

                “As of the Commencement Date, Employee will be paid a base
                salary in accordance with the prevailing wage for the geographic
                area in which the employee is assigned to work, as determined by
                the National Prevailing Wage and Helpdesk Center (NPWC) of the
                United States Department of Labor.”

 Exhibit 3, § IV(1). The contract provides that any assignee is required “to pay the Employee the

 prevailing wage for the geographic area where the Employee is assigned.” Id. § VIII(8).




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        The contract plaintiff signed is a standard contract that the defendants use with all

 Filipino nurses who are recruited in the Philippines to work at the defendants’ nursing homes.

 Rubinstein Dep. at 27-83 (Howley Declr., Exh. C) and Exhibits 47-62. The standard contract

 provides that the employer will pay a base salary in accordance with the prevailing wage

 determined by the U.S. Department of Labor as of the date the nurse starts working for the

 defendants. See id. The prevailing wage language is identical in all the contracts the defendants

 have produced in this action. See id.

        Plaintiff was instructed by the Sentosa staff in Manila to sign each and every page of her

 contract, which she did. Paguirigan Dep. at 432 & Exhibit 3. Signing every page of the

 employment contract appears to have been standard practice. All of the contracts produced by

 the defendants in this action contain the Filipino nurse’s signature on each and every page of the

 contract. See Rubinstein Dep. at 27-83 and Exhibits 47-62.

        The Sentosa staff in Manila attached to plaintiff’s contract a letter addressed to the U.S.

 Embassy. Exhibit 3. The letter is on Golden Gate stationary and is signed by defendant

 Benjamin Landa. Id. The letter states that Golden Gate offered plaintiff a position as a

 Registered Nurse for $29.00 per hour. Id. Defendant Luyun told plaintiff that $29.00 per hour

 was the prevailing wage at the time she signed the contract. Paguirigan Dep. at 438-39.

        Plaintiff was not asked to sign the cover letter, and her signature does not appear on it.

 Id. at 437-38 & Exhibit 3. This also appears to be the defendants’ standard practice. All of the

 contracts produced by the defendants in this action have corresponding letters addressed to the

 U.S. Embassy purporting to offer employment at an hourly wage that is consistent with the

 hourly wage for a Registered Nurse as of the date of the letter. See Rubinstein Dep. at 27-83 and




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 Exhibits 48-62. The letters are signed only by a representative of the defendants’ nursing homes.

 Id. None of the letters is signed by a Filipino nurse. Id.

        Plaintiff’s contract provides that it may be assigned to another nursing home or staffing

 agency. Paguirigan Contract, Exhibit 3, § VIII(8). Defendant Berish Rubinstein claims that he,

 as owner of defendant Prompt Nursing, and defendant Bent Philipson, as an owner of defendant

 Golden Gate, entered into a “verbal agreement” to assign plaintiff’s contract from the nursing

 home to defendant Prompt Nursing. Rubinstein Dep. at 29-30. No documentation exists of the

 purported “verbal agreement” to assign the contract. Id. While Rubinstein claims that Prompt

 Nursing assumed all rights and obligations under the contract, Golden Gate received nothing in

 return for the assignment of the contract to Prompt Nursing. Id. at 31.

        The “verbal assignment” of employment contracts from the nursing homes to Prompt

 Nursing for no consideration appears to be a standard practice with all contracts between Filipino

 nurses and the defendants’ nursing homes. Rubinstein Dep. at 48-62. The defendants have not

 produced any documents concerning the assignments of contracts to Prompt Nursing, nor have

 they produced any evidence of any consideration paid for the “verbal assignments.” When asked

 multiple times what, if anything, the nursing homes received in return for the assignments of

 various employment contracts to Prompt Nursing, defendant Rubinstein consistently replied,

 “Nothing.” Rubinstein Dep. at 48-62.

    B. Defendants’ Policy and Practice of Not Paying
       the Prevailing Wage as of the Commencement Date

        On June 22, 2016, plaintiff began working for the defendants at defendant Spring Creek,

 a nursing home owned by the defendants in Brooklyn. Paguirigan Dep. at 351-52 and Exhibit

 27. The defendants employed plaintiff for 35 hours per week at the rate of $29.00 per hour. Id.

 at 16. The annual base compensation plaintiff received was less than the annual prevailing wage

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 as of the date she started working for defendants. Id. ¶ 27. The hourly wage plaintiff received

 was less than the hourly prevailing wage as of the date she started working for defendants. Id. ¶

 28.

          The defendants have a policy and practice of paying Filipino nurses the prevailing wage

 as of the date they signed their contracts, not as of the commencement date of their employment.

 Defendant Rubinstein testified that Prompt Nursing did not calculate the prevailing wage for any

 of the Filipino nurses it employed under the contracts. Rubinstein Dep. at 48-62. Instead, it

 relied on the letters that the nursing homes submitted to the U.S. Embassy at the time the

 contracts were signed. Id.

          The defendants have produced contracts and/or payroll records for 230 nurses who were

 recruited in the Philippines to work for the defendants’ nursing homes in this District during the

 relevant time period. Each of these nurses signed the defendants’ standard contract that provided

 for full-time employment at the prevailing wage as of the date they started working for the

 defendants. See Rubinstein Dep. at 27-83 and Exhibits 48-62. Each of the nurses, however, was

 paid the prevailing wage as of the date they signed the contract. See id.

       C. Defendants’ Pattern and Practice of Threatening Serious Harm
          to Prevent Filipino Nurses from Leaving Their Employ

          The defendants’ standard employment contract contains an indenture requiring them to

 pay up to $25,000 if they leave the defendants’ employ before the end of their contract term.

 Complaint ¶ 46. This indenture is secured by a confession of judgment for $25,000, which each

 nurse must sign before leaving the Philippines. Complaint ¶ 47.

          Plaintiff and the other Filipino nurses were required to sign acknowledgements, prepared

 by the defendants, of the amounts actually paid by the defendants on their behalf. These

 acknowledgements demonstrate that the $25,000 indenture and confessions of judgment are

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 disproportionate to the actual costs incurred by the defendants. Complaint ¶ 49. For example,

 plaintiff’s acknowledgement states that defendant Sentosa Care LLC had paid only $3,685.50 for

 attorneys’ fees, filing fees, visa fees, ICHP visa screen fees, airfare, and “miscellaneous”

 expenses on her behalf. Exhibit 64.

        The $25,000 penalty is also disproportionate to the compensation paid to the foreign

 nurses. Complaint ¶ 50. It represents 50% of plaintiff’s gross (pre-tax) annual compensation.

        On May 20, 2010, the New York State Supreme Court, Nassau County, held in

 SentosaCare LLC v. Anilao, Index No. 6079/2006, that the $25,000 indenture in defendants’

 standard employment contract is unenforceable because the parties had unequal bargaining

 power and the defendants’ actual damages, if any, can be calculated. Defendants SentosaCare,

 Sentosa Agency, Prompt Nursing, Philipson, Rubenstein, Luyun, Golden Gate, and 10 other

 nursing homes owned and operated by the defendants were parties in the Anilao case. Id.

        Since the Anilao decision in May 2010, the defendants have continued to include the

 unenforceable $25,000 indenture in their employment contracts with Filipino nurses, and they

 have continued to require execution of a $25,000 confession of judgment before the nurses come

 to the United States. See, e.g., Exhibits 47-62. The defendants have continued to threaten

 foreign nurses with enforcement of the unenforceable indenture and confessions of judgment if

 they stop working for the defendants. Complaint ¶ 57.

        In 2016, the defendants caused defendant Prompt Nursing to commence lawsuits against

 plaintiff and two other Filipino nurses, Jericson Valdez and April Sullivan Francisco, to enforce

 the $25,000 indenture. The lawsuits also sought $250,000 in damages for alleged tortious

 interference with contract and tortious interference with prospective business relations.

 Complaint ¶¶ 59-61.



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        The defendants did not have a good faith basis to believe that the $25,000 indenture was

 enforceable in any of the lawsuits they threatened to commence or caused defendant Prompt

 Nursing to commence against plaintiff and other Filipino nurses. Complaint ¶ 63. The

 defendants did not have any evidence to support their allegations that plaintiff or other foreign

 nurses tortiously interfered with the defendants’ contracts or prospective business relationships.

 Complaint ¶ 64. Indeed, when asked to state the basis for Prompt Nursing’s claim that plaintiff

 tortiously interfered with the contracts of other nurses, defendant Rubinstein testified only that he

 believed that plaintiff and other nurses had talked about quitting together. Rubinstein Dep. at 95-

 97. He was not able to identify any improper inducement or coercion by plaintiff of any other

 nurse. Id.

        The defendants’ baseless and abusive lawsuits against plaintiff and other foreign nurses

 in 2016 are part of a longstanding pattern and practice designed to induce fear and prevent

 foreign nurses from seeking other employment. Complaint ¶ 71. Since 2006, the defendants or

 their agents have commenced lawsuits against at least 30 foreign nurses to collect the

 unenforceable $25,000 indenture. The defendants have not prevailed in any of those lawsuits.

 Complaint ¶ 72.

        Since 2006, the defendants or their agents have filed professional misconduct complaints

 with the New York State Education Department against at least 27 foreign nurses because they

 stopped working for the defendants. In every case, the New York State Department of Education

 determined that the foreign nurses had not committed professional misconduct. Complaint ¶ 73.

        The defendants commenced a lawsuit against a lawyer for tortious interference with

 contract and prospective business relations because he advised foreign nurses who stopped

 working for the defendants. Defendants did not prevail in that lawsuit. Complaint ¶ 74.



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        The defendants met with a District Attorney to seek a criminal indictment of at least 10

 foreign nurses because they stopped working for the defendants. The defendants also urged the

 District Attorney to seek a criminal indictment against the lawyer whom the foreign nurses

 retained to advise and defend them against breach of contract and professional discipline

 complaints. Complaint ¶ 75. After the District Attorney obtained indictments against the

 foreign nurses and their lawyer, the New York State Appellate Division, Second Department,

 granted an extraordinary writ of prohibition against the prosecution of the foreign nurses and

 their lawyer on the grounds that it would violate the nurses’ Thirteenth Amendment right to be

 free of involuntary servitude and their lawyer’s rights under the First Amendment. Matter of

 Vinluan v. Doyle, 60 A.D.3d 237 (2d Dep’t 2009).

        The defendants’ actual and threatened legal actions were pursued for the purpose of

 coercing plaintiff and other foreign nurses to continue working for the defendants. Complaint ¶

 76. The defendants pursued these actions with the intent to cause plaintiff and other foreign

 nurses to believe that they would suffer serious psychological, financial or reputational harm if

 they did not continue working for defendants. Complaint ¶ 77.

                                              Argument

        For a class to be certified, plaintiff must satisfy the requirements of Rule 23(a) and at

 least one of the three criteria for certification under Rule 23(b). See, e.g., Shady Grove

 Orthopedic Associates, P.A. v. Allstate Ins. Co., 293 F.R.D. 287, 298 (E.D.N.Y. 2013) (citing

 Wal–Mart Stores, Inc. v. Dukes, 564 U.S. 338, 131 S. Ct. 2541, 2551 (2011)). This requires that

 plaintiff raise questions that the Court concludes, after a “rigorous analysis,” are susceptible to

 common resolution. Id. Notwithstanding the requirements of a rigorous analysis, however, “the

 preference in this Circuit is to give Rule 23 a ‘liberal rather than restrictive construction’ and to



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 ‘grant[] rather than deny[] class certification.’” Id. (citing Gortat v. Capala Bros., Inc., 257

 F.R.D. 353, 361 (E.D.N.Y. 2009)).

        Plaintiff seeks to certify a class comprised of all nurses who were recruited by the

 defendants in the Philippines and were employed by the defendants in the United States at any

 time since December 23, 2008. As demonstrated below, this proposed class satisfies the

 requirements of Rule 23.

    A. Plaintiff Satisfies the Requirements of Rule 23(a)

        1. The Class Exceeds 200 Filipino Nurses and Joinder is Impracticable

        “Rule 23(a)(1) requires the class to be ‘so numerous that joinder of all members is

 impracticable.’” Shady Grove, 293 F.R.D. at 299-300 (quoting Fed. R. Civ. P. 23(a)(1)). This

 prerequisite is usually satisfied by a class consisting of at least 40 members. Id. at 300 (citing

 Consolidated Rail Corp. v. Town of Hyde Park, 47 F.3d 473, 483 (2d Cir. 1995); Madanat v.

 First Data Corp., 282 F.R.D. 304, 309 (E.D.N.Y. 2012)).

        In response to requests for the employment contracts and payroll records of potential

 class members, the defendants have produced employment contracts and payroll records for

 more than 200 nurses they recruited in the Philippines and who were employed by the defendants

 in this District during the relevant time period. The defendants’ documents establish that the

 proposed class is sufficiently large that joinder is impracticable. Shady Grove, 293 F.R.D. at 300

 (evidence of 73 prospective class members satisfied the numerosity requirement).

        Joinder is also impracticable because class members – especially those who continue to

 work for the defendants – have reason to fear retaliation from defendants who have repeatedly

 commenced baseless civil lawsuits, professional disciplinary complaints, and criminal charges

 against dozens of Filipino nurses. See, e.g., Nunag-Tanedo, 2011 WL 7095434, at *6, 10



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 (“joinder of the many Plaintiffs in the proposed class is impracticable both because the potential

 class members are numerous and because many class members may fear retaliation”).

        2. Common Questions of Law and Fact Abound

        “Rule 23(a)(2) requires there to be ‘questions of law or fact common to the class.’”

 Shady Grove, 293 F.R.D. at 300 (quoting Fed. R. Civ. P. 23(a)(2)). “[T]he claims of the putative

 class ‘must depend upon a common contention’ that is ‘of such a nature that it is capable of

 classwide resolution—which means that the determination of its truth or falsity will resolve an

 issue that is central to the validity of each one of the claims in one stroke.’” Shady Grove, 293

 F.R.D. at 300 (quoting Wal–Mart, 131 S. Ct. at 2551). “Put another way, the key inquiry under

 Wal–Mart is ‘whether the disputed issue could be resolved through common proof.’” Shady

 Grove, 293 F.R.D. at 300 (citation omitted) (emphasis in original).

        In this case, the dispositive issues will be resolved by class-wide proof.

        a. Plaintiff’s TVPA Claims Raise Issues Common to the Class

                i.      Liability Under 18 U.S.C. § 1589(a)

        Under Section 1589(a) of the TVPA, it is unlawful to “knowingly provide[] or obtain[]

 the labor or services of a person” using (1) “force, threats of force, physical restraint, or threats

 of physical restraint” (none of which are at issue in this case); (2) “serious harm or threats of

 serious harm”; (3) “the abuse or threatened abuse of law or legal process”; or (4) “any scheme,

 pan, or pattern intended to cause the person to believe that, if that person did not perform such

 labor or services, that person would suffer serious harm or physical restraint.” 18 U.S.C. §

 1589(a).

        The TVPA defines “serious harm” by reference to an objective, “reasonable person” test.

 Thus, “serious harm” is defined as “any harm, whether physical or non-physical, including



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 psychological, financial, or reputational harm, that is sufficiently serious, under all the

 surrounding circumstances, to compel a reasonable person of the same background and in the

 same circumstances to perform or to continue performing labor or services in order to avoid

 incurring that harm.” 18 U.S.C. § 1589(c)(2) (emphasis added).

        As this Court has already found, a “threat of financial harm constitutes serious harm

 within the meaning of the TVPA.” Paguirigan v. Prompt Nursing Employment Agency LLC, 17

 Civ. 1302 (NG), slip op. at 8 (E.D.N.Y. Dec. 22, 2017) (citing United States v. Dann, 652 F.3d

 1160, 1170-71 (9th Cir. 2011) (threatened enforcement of an $8,000 debt was threat of serious

 harm)); Javier v. Beck, No. 13 Civ. 2926 (WHP), 2014 WL 3058456 at *6 (S.D.N.Y. July 3,

 2014) (threatened enforcement of $15,000 confession of judgment was threat of serious harm);

 Nunag-Tandedo, 790 F. Supp. 2d at 1146 (threatened enforcement of $10,000 debt was threat of

 serious harm).

        When deciding whether the $25,000 indenture in this case constitutes a threat of serious

 harm, the factfinder will determine whether a “reasonable person” from the same background as

 the named plaintiff – i.e., a recent immigrant from the Philippines earning approximately

 $50,000 per year before taxes – would consider the threat of repaying a $25,000 indenture to be a

 threat of serious harm sufficient to compel them to continue working for the defendants. The

 answer to that question is common to all class members, because they are all recent immigrants

 from the Philippines earning approximately $50,000 per year before taxes. Nunag-Tanedo, 2011

 WL 7095434, at *6 (“whether Defendants utilized threats of serious financial harm to compel

 Plaintiffs to work” was a common question sufficient to support class certification of TVPA

 claims).




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           Similarly, plaintiff’s claim that the defendants violated Section 1589(a) by engaging in

 the “[a]buse or threatened abuse of law or legal process” raises an issue common to all class

 members. “Abuse or threatened abuse of law or legal process” is defined as the “use or

 threatened use of law or legal process, whether administrative, civil, or criminal, in any manner

 or for any purpose for which the law was not designed, in order to exert pressure on another

 person to cause that person to take some action or refrain from taking some action.” 18 U.S.C. §

 1589(c)(1). Plaintiff alleges that the defendants pursued abusive legal claims against some

 Filipino nurses to intimidate all Filipino nurses. The answer to whether defendants engaged in

 an abuse of law or legal process in order to exert pressure on Filipino nurses is common to all

 class members. See, e.g., Nunag-Tanedo, 2011 WL 7095434, at *6 (“whether Defendants’

 conduct violated the TVPA” is a common question of law sufficient to support class

 certification).

         The issue of the defendants’ intent is also common to all class members. As this Court

 noted in its decision denying the defendants’ motion to dismiss, plaintiff “alleges that the

 purpose of these lawsuits was to send a message to ‘all foreign nurses’ that they will incur

 liability and ‘substantial attorneys’ fees’ if they stop working for the defendants.” Paguirigan,

 slip op. at 10. If the factfinder determines that the defendants pursued abusive legal actions

 against some Filipino nurses in order to deter all Filipino nurses from leaving their employ, that

 will resolve the issue of scienter with respect to the claims of all class members.

                   ii.   Liability Under 18 U.S.C. § 1589(b)

         The TVPA extends liability to those who “knowingly benefit[], financially or by

 receiving anything of value” from participation in a venture that involves providing or obtaining

 labor by the means described in 18 U.S.C. § 1589(a).” 18 U.S.C. § 1589(b). Proof that each of



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 the defendants participated in and knowingly benefitted from a venture that violated the TVPA

 will be identical for both plaintiff’s individual claims and the claims of every other class

 member. See, e.g., Nunag-Tanedo, 2011 WL 7095434, at *6 (“whether the Recruiter Defendants

 and Attorney Defendants engaged in a common enterprise” were common questions of fact

 sufficient to support class certification of TVPA claims).

                iii.     Liability Under 18 U.S.C. § 1590(a)

        The TVPA extends liability to “any person who knowingly recruits, harbors, transports,

 provides, or obtains by any means, any person for labor or services in violation of this chapter.”

 18 U.S.C. § 1590(a). Proof that each defendant knowingly engaged in conduct prohibited by

 Section 1590(a) will be identical for both the plaintiff’s individual claims and the claims of every

 other class member. See Nunag-Tanedo, 2011 WL 7095434, at *6.

                iv.      Liability Under 18 U.S.C. § 1594

        The TVPA extends liability to whoever attempts or conspires with another to violate,

 inter alia, Sections 1589 and 1590. 18 U.S.C. § 1594(a)-(b). Proof that the defendants used the

 $25,000 indenture and baseless legal actions against plaintiff and other Filipino nurses in an

 attempt to procure their services by means of threats of serious harm will prove not only

 plaintiff’s individual attempt claim under Section 1594(a), but also the attempt claims of every

 other Filipino nurse.

        Plaintiff’s conspiracy claim under Section 1594(b) also raises common issues with the

 claims of the class. In order to prevail on her conspiracy claim, plaintiff must prove an

 agreement to violate one or more prohibitions in the TVPA. Stein v. World-Wide Plumbing

 Supply Inc., 71 F. Supp. 3d 320, 330 (E.D.N.Y. 2014) (citing United States v. Svoboda, 347 F.3d

 471, 476-77 (2d Cir. 2003)). Plaintiff need not prove the existence of an explicit agreement, but



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 only that the defendants “entered into a joint enterprise with consciousness of its general nature

 and extent.” Id. (quoting United States v. Beech-Nut Nutrition Corp., 871 F.2d 1181, 1191

 (1989)). Plaintiff’s proof that the defendants entered into such an enterprise with knowledge of

 its nature and extent will resolve the issue of conspiracy on both an individual and class-wide

 basis.

          b. Plaintiff’s Breach of Contract Claims Raise Issues Common to the Class

          The central issues raised by plaintiff’s breach of contract claim are: (a) whether the

 defendants were required to pay the prevailing wage “[a]s of the commencement date” or as of

 the date the contract was signed; (b) whether the $25,000 indenture is an enforceable liquidated

 damages provision or an unenforceable penalty; and (c) whether the defendants are collaterally

 estopped from arguing for the enforceability of the indenture as a result of the contrary decision

 by the New York State Supreme Court in the Anilao case. All of these issues are capable of

 class-wide resolution. See, e.g., Nunag-Tanedo, 2011 WL 7095434, at *6 (“whether the class

 members’ contracts are void for undue influence or illegality” raises common questions of law

 sufficient to support class certification).

          Similarly, plaintiff’s claim to pierce the corporate veil is capable of class-wide resolution.

 The piercing claim will depend on proof that the defendants held themselves out to the Filipino

 nurses as a single, integrated entity under the name “Sentosa,” ignored corporate formalities,

 assigned contracts between entities informally by “verbal agreement” without any documentation

 or consideration, and abused the corporate form to commit fraud against the Filipino nurses. See,

 e.g., Javier, 2014 WL 3058456 at *9. Proof of these facts will be class-wide and will not be

 affected by any individual nurse’s claims.




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        3. Plaintiff’s Claims Are Typical of the Claims of Absent Class Members

        “Fed. R. Civ. P. 23(a)(3) requires that ‘the claims or defenses of the representative parties

 are typical of the claims or defenses of the class.’” Shady Grove, 293 F.R.D. at 301. “The

 ‘typicality requirement is satisfied when each class member’s claim arises from the same course

 of events and each class member makes similar arguments to prove the defendant’s liability.’”

 Shady Grove, 293 F.R.D. at 301 (quoting Robidoux v. Celani, 987 F.2d 931, 936 (2d Cir. 1993)).

        Here, the claims of the proposed class members arise from the same conduct and are

 based on the same legal theories as the claims of the named plaintiff. Plaintiff and the other class

 members were all recruited in the Philippines, signed the same contracts of indentured servitude

 and confessions of judgment, and worked for the same group of nursing homes owned and

 operated by the defendants in this District. In all respects, this case is indistinguishable from

 Nunag-Tanedo, where the court found that the named plaintiffs’ claims were typical of the class

 claims because “[t]he claims of the class and subclass members arise from the same conduct and

 are based on the same legal theories as the claims of the named Plaintiffs. The class members

 were recruited in the same manner, paid the same fees, signed the same contracts, worked in the

 same state, and were subject to the same working conditions.” Nunag-Tanedo, 2011 WL

 7095434, at *6; accord Shady Grove, 293 F.R.D. at 301 (“Where the same conduct is alleged to

 have been ‘directed at or affected both the named plaintiff and the class sought to be represented,

 the typicality requirement is usually met irrespective of minor variations in the fact patterns

 underlying individual claims.’”) (quoting Robidoux v. Celani, 987 F.2d 931, 936 (2d Cir. 1993)

 (additional citations omitted)).




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        4. Plaintiff Will Adequately Protect the Interests of the Class

        “Rule 23(a)(4) requires plaintiffs to ‘demonstrate that the proposed action will fairly and

 adequately protect the interests of the class. To satisfy this requirement, plaintiffs must show 1)

 that there is an absence of conflict and antagonistic interests between them and the class

 members, and 2) that plaintiffs’ counsel is qualified, experienced and capable.’” Shady Grove,

 293 F.R.D. at 302 (quoting Iglesias–Mendoza v. La Belle Farm, Inc., 239 F.R.D. 363, 371–72

 (S.D.N.Y. 2007)).

        There is no evidence of any conflicting or antagonistic interests between the named

 plaintiff and the class members. To the contrary, plaintiff’s interests are completely aligned with

 the interests of proposed class members. They were all recruited in the Philippines, signed

 contracts with identical compensation provisions and indentures, and suffered the same types of

 injuries. Under these circumstances, plaintiff is an adequate class representative. Nunag-

 Tanedo, 2011 WL 7095434, at *7 (“There is no evidence of any conflict of interest between class

 members, and the shared experience of the class members with the named Plaintiffs indicates

 that the Plaintiffs will prosecute the action vigorously.”)

        Plaintiff’s attorneys have extensive experience with employment-related class actions in

 general and TVPA cases in particular. Lead plaintiff’s attorney John Howley has more than 27

 years of experience in complex labor and employment litigation, including almost two decades

 as a litigator with Kaye Scholer LLP. He has represented plaintiffs in multiple TVPA cases,

 including in Javier v. Beck, No. 13 Civ. 2926 (WHP), 2014 WL 3058456 (S.D.N.Y. July 3,

 2014), one of the leading TVPA cases in this Circuit. His significant labor and employment

 litigation experience includes serving as plaintiffs’ attorney in McReynolds v. Sodexho, a race

 discrimination class action that settled for $80 million; as defendants’ attorney in Roberts v.



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 Texaco, a race discrimination class action that settled for $115 million; and as trial counsel for

 the Patrolmen’s Benevolent Association of the City of New York, Inc. (PBA) in labor disputes

 with the City of New York. See Howley Declr. ¶¶ 5-7.

        Plaintiff’s attorneys are fluent in the languages spoken by class members and familiar

 with their culture. Plaintiff’s co-counsel Leandro B. Lachica is a native Tagalog (Pilipino)

 speaker, having been born and raised in the Philippines. He is also a former Consul and Legal

 Officer with the Philippine Consulate in New York City, where he was responsible for assisting

 hundreds of Philippine nationals with U.S. employment and immigration issues. Lachica Declr.

 ¶¶ 2-6. Mr. Howley is fluent in Tagalog and also speaks Cebuano, the dialect spoken in the

 central and southern Philippines. He has lived, studied, and worked in the Philippines for

 extended periods of time since 1975. Howley Declr. ¶ 8. These additional factors also weigh in

 favor of appointing plaintiff’s attorneys to represent the proposed class. See Menocal v. The Geo

 Group, Inc., 320 F.R.D. 258, 270 (D. Colo. 2017) (noting that proposed class counsel “have

 uniquely relevant experience with the client base . . . [and] are also Spanish speakers, making it

 easier for them to communicate with some members of the classes”).

    B. Plaintiff Satisfies the Requirements of Rule 23(b)(3)

        “Under Fed. R. Civ. P. 23(b)(3), a class action may be maintained if ‘the court finds that

 the questions of law or fact common to class members predominate over any questions affecting

 only individual members, and that a class action is superior to other available methods for fairly

 and efficiently adjudicating the controversy.’” Shady Grove, 293 F.R.D. at 303. These

 requirements are easily satisfied here.




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        1. Common Issues Predominate

        “‘Class-wide issues predominate if resolution of some of the legal or factual questions

 that qualify each class member’s case as a genuine controversy can be achieved through

 generalized proof, and if these particular issues are more substantial than the issues subject only

 to individualized proof.’” Shady Grove, 293 F.3d at 303 (quoting Moore v. PaineWebber, Inc.,

 306 F.3d 1247, 1252 (2d Cir. 2002)).

        The common issues described above predominate over individual issues in both number

 and importance for purposes of Rule 23(b)(3). The central issues involve not just the named

 plaintiff, but rather all members of the proposed class who were victimized by the defendants’

 uniform $25,000 indentures and confessions of judgment, threats and attempts to enforce that

 unenforceable penalty, other baseless legal actions directed at Filipino nurses, and defendants’

 failure to pay the prevailing wage “[a]s of the commencement” of each nurse’s employment.

 The evidence relevant to these core issues will be common to the entire class. Moreover,

 because all of Plaintiffs’ claims arise out of the same nucleus of operative facts, the TVPA and

 contract claims are subject to common proof. See, e.g., Nunag-Tanedo, 2011 WL 7095434, at *7

 (the issue of “contract invalidity” predominated over any individualized issues).

        Dispositive issues of liability under the TVPA will also be decided on a class-wide basis.

 For example, “[s]erious harm is defined as ‘any harm, whether physical or nonphysical,

 including psychological, financial, or reputational harm, that is sufficiently serious, under all the

 surrounding circumstances, to compel a reasonable person of the same background and in the

 same circumstances to perform or to continue performing labor or services in order to avoid

 incurring that harm.’” The application of a “reasonable person” test to a class that shares many

 common attributes ensures that the dispositive common question – how would a reasonable



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 person react? – will predominate over individual issues. See, e.g., Nunag-Tanedo, 2011 WL

 7095434, at *8 (“because the class members share a large number of common attributes—they

 are teachers, they are from the Philippines, they are new to the United States, they are educated,

 they work in Louisiana, they left their homes to work in a new country-they share the ‘same

 background’ and ‘same circumstances,’ allowing the fact-finder to use a common ‘reasonable

 person’ standard for all class members”).

        Similarly, the issue of the defendants’ intent will be resolved on a class-wide basis. This

 is especially true in this case where plaintiff alleges that actual and threatened legal actions taken

 by the defendants against some Filipino nurses were intended to convey a threat of serious harm

 to all Filipino nurses. As the court held in Nunag-Tandeo: “Because the analysis of claimed

 TVPA injury will focus on the Defendants’ intent with respect to any threats made against

 Plaintiffs, and on a reasonable person’s perception of those threats, the TVPA inquiry will not

 turn on, or require, individualized determinations. Thus, the inquiry will not look at how each

 Plaintiff perceived the Defendants’ actions or whether he or she subjectively felt compelled to

 work. Instead, the inquiry will look at the Defendants’ actions and assess how a reasonable

 person from the Plaintiffs’ background would respond to those actions.” Nunag-Tanedo, 2011

 WL 7095434, at *8.

        By contrast to the dispositive common issues in the case, there are few individual issues

 to be determined. While damages will need to be ascertained separately for each class member,

 the method for calculating damages will be common. The damages claims of each individual

 class member will be resolved by reference to mechanical calculations common to the class as a

 whole with reference to basic documentary evidence: the date the nurse started working, public

 records from the U.S. Department of Labor showing the prevailing wage on that date, and the



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 wage actually paid to the nurse. Under these circumstances, the numerous common questions

 predominate over any individual damages issues. See, e.g., Shady Grove, 293 F.R.D. at 304;

 Nunag-Tanedo, 2011 WL 7095434, at *10.

        2. A Class Action is Superior to Other Methods of Adjudication

        When deciding whether a class action is a superior method of adjudication, “courts

 balance, ‘in terms of fairness and efficiency, the advantages of a class action against those of

 alternative available methods of adjudication.’” Shady Grove, 293 F.R.D. at 306 (quoting Anwar

 v. Fairfield Greenwich Ltd., 289 F.R.D. 105, 114 (S.D.N.Y. 2013)). Rule 23(b)(3) provides a list

 of factors to be considered in making this assessment: (1) the class members’ interests in

 individually controlling the prosecution or defense of separate actions; (2) the extent and nature

 of any litigation concerning the controversy already begun by or against class members; (3) the

 desirability or undesirability of concentrating the litigation of the claims in the particular forum;

 and (4) the likely difficulties in managing a class action. Fed. R. Civ. P. 23(b)(3). Each of these

 factors weighs in favor of class certification.

        A class action is far superior to any alternative manner of litigating the claims in this

 case. First, it is extremely unlikely that the individual class members have an interest in

 instituting or controlling their own individual actions: they are foreign nationals who are not

 familiar with the U.S. legal system; they reasonably fear retaliation from defendants who have

 engaged in a pattern of abusive legal actions; and while the amount of damages each individual

 may recover is not insubstantial, it is relatively small compared to the costs of prosecuting an

 individual lawsuit.

        Second, there is no pending litigation concerning the class claims.




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        Third, this is the most appropriate forum to resolve the claims of all class members. All

 of the defendants engage in business, and most have their principal place of business, in this

 District. All of the class members worked for the defendants in this District. No other forum

 would be adequate to resolve the legal and factual claims at issue.

        Fourth, a class action does not present any insurmountable difficulties in case

 management. Although the precise amount of damages due to each class member may be

 determined individually, the method for calculating the damages will be based on a formula

 using data from readily available government reports and the defendants’ payroll records. By

 contrast, requiring each of the more than 200 class members to sue individually would result in

 far greater manageability problems, including duplicative discovery, repeated adjudication of

 identical facts and legal issues, the risk of inconsistent judgments, and excessive costs for both

 the litigants and the Court. For all these reasons, the Court should certify this case as a class

 action under Rule 23(b)(3). See, e.g., Nunag-Tanedo, 2011 WL 7095434, at *10.

    C. In the Alternative, Plaintiff Satisfies the Requirements of Rule 23(b)(2)

        Rule 23(b)(2) requires that “the party opposing the class has acted or refused to act on

 grounds that apply generally to the class, so that final injunctive relief or corresponding

 declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2). As

 explained above, the defendants have acted on grounds that apply generally to the class here.

 With respect to all Filipino nurses, the defendants have: (1) procured their labor and services

 through threats of serious financial harm and abuse of legal process, in violation of the TVPA;

 and (2) threatened and attempted to enforce $25,000 indentures that are disproportionate to the

 defendants’ actual costs and the result of undue influence and unequal bargaining power.

 Plaintiff, therefore, seeks final relief declaring that the $25,000 indentures are unenforceable and



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 enjoining the defendants from threatening or attempting to enforce the indentures against any

 member of the proposed class. As all members of the proposed class were compelled to sign

 defendants’ standard form contracts containing an identical $25,000 indenture, all proposed class

 members share a common interest in obtaining this relief. Because all proposed class members

 were victims of the defendants’ conduct, all of them will likewise benefit from such injunctive

 relief. Accordingly, the Rule 23(b)(2) requirements are met.

                                             Conclusion

        For the reasons set forth in this memorandum and the accompanying declarations and

 exhibits, plaintiff Rose Ann Paguirigan requests entry of an Order: (a) certifying this action as a

 class action pursuant to Rule 23(b)(3) or, in the alternative, Rule 23(b)(2) of the Federal Rules of

 Civil Procedure; (b) appointing plaintiff’s attorneys to represent the class; and (c) granting such

 other relief as this Court deems just.

 Dated: New York, New York                             THE HOWLEY LAW FIRM P.C.
        December 29, 2017


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